               Case 19-55849-wlh                   Doc 1               Filed 04/15/19 Entered 04/15/19 09:47:18                                     Desc
                                                                       Petition Page 1 of 12
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
                                                                                                   G rr
 Northern District of Georgia

 Case number (II known):                                          Chapter you are filing undiel   HR 15 AM 9:L5
                                                                  0 Chapter 7
                                                                  0 Chapter 11
                                                                  0 Chapter 12                            CL
                                                                  EfChapter 13                                                              U   Check if this is an
                                                                                                                                                amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/17

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information Is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor l and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:      Identify Yourself

                                     About Debtor 1:                                                           About Debtor 2 (Spouse Only In a Joint Case):

1. Your full name
   Write the name that is on your     JACQUELINE
   government-issued picture
                                     First name                                                                First name
   identification (for example,
   your driver's license or
   passport).                        Middle name                                                               Middle name

    Bring your picture
                                      GREENE
    identification to your meeting   Last name                                                                 Last name
    with the trustee.
                                     Suffix (Sr., Jr., II, Ill)                                                Suffix (Sr., Jr., II, Ill)




2. All other names you                 JACQUELINE
   have used in the last 8           First name                                                                First name
   years
    Include your married or          Middle name                                                               Middle name
    maiden names.                      FLETCHER
                                     Last name                                                                 Last name

                                       JACKIE
                                     First name                                                                First name


                                     Middle name                                                               Middle name
                                       GREENE
                                     Last name                                                                 Last name




3. Only the last 4 digits of
                                      xxx      — xx—                    8     3     7                          xxx       — xx      —
   your Social Security
   number or federal                  OR                                                                       OR
   Individual Taxpayer
   Identification number              9 xx — xx —                                                              9 xx - xx -
    (ITIN)


 Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
              Case 19-55849-wlh                      Doc 1      Filed 04/15/19 Entered 04/15/19 09:47:18                                     Desc
                                                                Petition Page 2 of 12
Debtor 1      JACQUELINE GREENE                                                                  Case number (if known)
             First Name   Middle Name              Last Name




                                        About Debtor 1:                                                About Debtor 2 (Spouse Only In a Joint Case):


4. Any business names
   and Employer                         El I have not used any business names or EINs.                 0 I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                  Business name
    Include trade names and
    doing business as names             Business name                                                  Business name



                                        EIN                                                            EIN


                                        EIN                                                            EIN




5. Where you live                                                                                       If Debtor 2 lives at a different address:


                                         4673      SEDUM WAY
                                        Number        Street                                            Number          Street




                                         ATLANTA                              GA       30341
                                        City                                 State    ZIP Code          City                                     State               ZIP Code

                                         FULTON
                                        County                                                          County

                                        If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                     any notices to this mailing address.



                                        Number         Street                                           Number            Street


                                        P.O. Box                                                        P.O. Box


                                        City                                 State    ZIP Code          City                                     State               ZIP Code




6. Why you are choosing                 Check one:                                                      Check one:
   this district to file for
   bankruptcy
                                        El Over the last 180 days before filing this petition,          0 Over the last 180 days before filing this petition,
                                           I have lived in this district longer than in any                    I have lived in this district longer than in any
                                           other district.                                                     other district.

                                         0 I have another reason. Explain.                              0 I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)




                                                                                                                                                    13., 777.4.1g,




   Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
              Case 19-55849-wlh                       Doc 1        Filed 04/15/19 Entered 04/15/19 09:47:18                                     Desc
                                                                   Petition Page 3 of 12
Debtor 1      JACQUELINE GREENE                                                                    Case number (If known)
             First Name   Middle Name                Last Name




 Part 2:   Tell the Court About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                        O Chapter 7
   under
                                        O Chapter 11

                                        CI Chapter 12

                                        •       Chapter 13


    How you will pay the fee            0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                        id I need to pay the fee in installments. If you choose this option, sign and attach the
                                           Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        O I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



; 9. Have you filed for                 El No
     bankruptcy within the
     last 8 years?                      RI Yes. District                                   When                        Case number
                                                                                                   MM! DD / YYYY
                                                      District                             When                        Case number
                                                                                                   MM! DD / YYYY
                                                      District                             When                        Case number
                                                                                                   MM/ DD / YYYY



    Are any bankruptcy                      El No
    cases pending or being
    filed by a spouse who is                0   Yes. Debtor                                                             Relationship to you
    not filing this case with                         District                             When                         Case number, if known
    you, or by a business                                                                          MM/DD / YYYY
    partner, or by an
    affiliate?
                                                      Debtor                                                            Relationship to you
                                                      District                              When                        Case number, if known
                                                                                                   MM / DD / YYYY


    Do you rent your                        0 No.    Go to line 12.
    residence?                                  Yes. Has your landlord obtained an eviction judgment against you?

                                                      ia No. Go to line 12.
                                                      CI   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                           part of this bankruptcy petition.




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3
                 Case 19-55849-wlh                      Doc 1        Filed 04/15/19 Entered 04/15/19 09:47:18                              Desc
                                                                     Petition Page 4 of 12
Debtor 1          JACQUELINE GREENE                                                                 Case number (if known)
                First Name    Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor               0 No. Go to Part 4.
    of any full- or part-time
    business?                                    Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                     Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                      Number      Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                                                                       State          ZIP Code
                                                       City


                                                      Check the appropriate box to describe your business:
                                                      O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      CI   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      O None of the above


13.Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
   Chapter 11 of the                        can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
   Bankruptcy Code and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
   are you a small business
      debtor?
                                            el No. I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                  0 No.     I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                           the Bankruptcy Code.

                                            0 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                      Bankruptcy Code.


1:21          Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                0 No
      property that poses or is
      alleged to pose a threat               0   Yes. What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                               If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                        Where is the property?
                                                                                 Number        Street




                                                                                 City                                             State   ZIP Code


   Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                 page 4
               Case 19-55849-wlh                      Doc 1        Filed 04/15/19 Entered 04/15/19 09:47:18                                       Desc
                                                                   Petition Page 5 of 12
Debtor 1        JACQUELINE GREENE                                                                       Case number (if known)
              First Name     Middle Name            Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You mwt check one:                                                  You must check one:
    counseling.
                                              I received a briefing from an approved credit                    O I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
   receive a briefing about credit            certificate of completion.                                         certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you                  I received a briefing from an approved credit                    O I received a briefing from an approved credit
   cannot do so, you are not                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     •     certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                             services from an approved agency, but was
                                              unable to obtain those services during the 7                          unable to obtain those services during the 7
                                              days after I made my request, and exigent                             days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                         circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                   of the requirement.
                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.
                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           CI I am not required to receive a briefing about                     O I am not required to receive a briefing about
                                              credit counseling because of:                                       credit counseling because of:

                                              O Incapacity. I have a mental illness or a mental                     El Incapacity.     I have a mental illness or a mental
                                                            deficiency that makes me                                                   deficiency that makes me
                                                            incapable of realizing or making                                           incapable of realizing or making
                                                            rational decisions about finances.                                         rational decisions about finances.
                                              O Disability.      My physical disability causes me                   O Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the internet, even after I                                    through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                              O Active duty. I am currently on active military                      O Active duty. I am currently on active military
                                                             duty in a military combat zone.                                       duty in a military combat zone.
                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
              Case 19-55849-wlh                    Doc 1           Filed 04/15/19 Entered 04/15/19 09:47:18                                Desc
                                                                   Petition Page 6 of 12
Debtor 1       JACQUELINE GREENE                                                                   Case number (it known)
             First Name   Middle Name             Last Name




 Part 6:   Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                            O No. Go to line 16b.
                                            O Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             • No. Go to line 16c.
                                             O Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                          O No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after O Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                      0 No
    administrative expenses
    are paid that funds will be       0 Yes
    available for distribution
    to unsecured creditors?

 18.How many creditors do                  1-49                                  0 1,000-5,000                              0 25,001-50,000
    you estimate that you                  50-99                                 0 5,001-10,000                                50,001-100,000
    owe?                                   100-199                               0 10,001-25,000                               More than 100,000
                                           200-999

 19.How much do you                        $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your assets to                $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million                0 More than $50 billion

, 20. How much do you                      $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your liabilities              $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
    to be?                                 $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million                U More than $50 billion
           Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C.    152, 1341, 1519, and 371.



                                           Si          of Debtor                                            Signature of Debtor 2

                                           Executed on        04/14/2019                                    Executed on
                                                              MM   / DD / YYYY                                              MM / DD   / YYYY


  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
              Case 19-55849-wlh                  Doc 1         Filed 04/15/19 Entered 04/15/19 09:47:18                           Desc
                                                               Petition Page 7 of 12
 Debtor 1      JACQUELINE GREENE                                                            Case number (if known)
              First Name   Middle Name          Last Name




 For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
 bankruptcy without an                   should understand that many people find it extremely difficult to represent
 attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
  If you are represented by
1 an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
I need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.
                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         U No
                                         O Yes

                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         Ci No
                                         O Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            No
                                         U Yes. Name of Person
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorney jiay cause me to los my rights or property if I do not properly handle the case.




                                                                                                       Signature of Debtor 2

                                         Date                04/14/2019                                Date
                                                            MM/DD   / YYYY                                             MM/ DD / YYYY

                                         Contact phone                                                 Contact phone

                                         Cell phone          (404) 903-9334                            Cell phone

                                         Email address       jfletch928@gmail.com                      Email address



   Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                page 8
              Case 19-55849-wlh                        Doc 1         Filed 04/15/19 Entered 04/15/19 09:47:18       Desc
                                                                     Petition Page 8 of 12




                                                             United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re     Jacqueline Greene                                                                        Case No.
                                                                                  Debtor(s)         Chapter    13




                                             VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: April 12, 2019                                                    /s/ Jacqueline Green
                                                                        Jacqueline Green
                                                                        Signature of Debt
                                                                                                           7/




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
  Case 19-55849-wlh      Doc 1   Filed 04/15/19 Entered 04/15/19 09:47:18   Desc
                                 Petition Page 9 of 12


BRIDGECREST
7300 E HAMPTON AVE
MESA, AZ 85209

CAPITAL ONE
15000 CAPITAL ONE DR
RICHMOND, VA 23238

DEPT OF ED/NAVIENT
PO BOX 9635
WILKES BARRE, PA 18773

EDC WALTON COMMUNITIES
2181 NEW MARKET PKWY SE
MARIETTA, GA 30067

FIRST PREMIER BANK
601 S MINNESOTA AVE
SIOUX FALLS, SD 57104

ACCEPTANCE NOW
5501 HEADQUARTERS DR
PLANO, TX 75024

FLAGSHIP CREDIT ACCEPTANCE
3 CHRISTY DR STE 201
CHADDS FORD, PA 19317

US AUTO FINANCE
824N MARKET ST STE 220
WILMINGTON, DE 19801

WEBBANK FINGERHUNT
6250 RIDGEWOOD RD SAINT
CLOUD, MN 56303

I C SYSTEM INC
PO BOX 64378
SAINT PAUL, MN 55164

HUDSON ENTERPRISE
1 SAVANNAH STREET INC
COLLECTION BUREAU OF NEWN
NEWNAN, GA 30263
   Case 19-55849-wlh     Doc 1    Filed 04/15/19 Entered 04/15/19 09:47:18   Desc
                                 Petition Page 10 of 12




BAN FIELD PET HOSPITAL
PO BOX 64378
SAINT PAUL, MN 55164
PROGRESSIVE INSURANCE
240 EMERY STREET
BETHLEHEM, PA 18015

DIAGNOSTIC IMAGING SPECIALIS
2901 UNIVERSITY AV 29
COLUMBUS, GA 31907

TBOM TOTAL CRD
5109 5 BROADBAND LN
SIOUX FALLS, SD 57108

COUNTY OF SAN MATEO
REVENUE SERVICES
455 COUNTY CENTER 1ST FLOOR
REDWOOD CITY, CA 94063-4850

GEORGIA UROLOGY
1930 BRANNAN ROAD
MCDONOUGH, GA 30253-3924

T-MOBILE
PO BOX 37380
ALBUQUERQUE, NM 87176-7380

SUNTRUST BANK
PO BOX 85092
RICHMOND, VA 23285-5052

COMCAST
PO BOX 34744
SEATTLE, WA 98124-1744
   Case 19-55849-wlh      Doc 1    Filed 04/15/19 Entered 04/15/19 09:47:18   Desc
                                  Petition Page 11 of 12

U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01255619 (0J) OF 04/15/2019


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1     13IN   19-55849              1                      ,$ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - JACQUELINE GREENE


TOTAL:                                                        $ 0.00


FROM: Jacqueline Greene
      4673 Sedum Way
      Atlanta, GA 30349




                                     Page 1   f 1
                 Case 19-55849-wlh                 Doc 1        Filed 04/15/19 Entered 04/15/19 09:47:18                                 Desc
                                                               Petition Page 12 of 12
   Case Number: 19-55849                                                 Name: Greene                                                    Chapter: 13

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                              •     Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                              Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                              1=1 Last 4 digits of SSN
 CI Pro Se Affidavit (due within 7 days, signature must be notarized,                             O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                              O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                    0 Chapter
                                                                                                  0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                            LI Statistical Estimates
   El Statement of Financial Affairs                                                              1=1 Venue
   E] Schedules: A/B C D El F GHIJ 0 J-2 (d(erent address for Debtor 2)                           1=1 Attorney Bar Number
   El Summary of Assets and Liabilities
   Z Declaration About Debtor(s) Schedules
                                                                                                                      Case filed via:
   O Attorney Disclosure of Compensation                                                            Z Intake Counter by:
   O Petition Preparer's Notice, Declaration and Signature (Form 119)                                  O Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)                                        El Debtor - verified ID
   El Chapter 13 Current Monthly Income                                                                O Other-copy of ID: (404) 903-9334
   O Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                              1=1 Mailed by:
   O Certificate of Credit Counseling (Individuals only)                                                 O Attorney
   Z Pay Advices (Individuals only) (2 Months)                                                           0 Debtor
   El Chapter 13 Plan, complete with signatures (local form)                                             1=1 Other:
   O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                              History of Case Association
   Ch.11 Business
   LI 20 Largest Unsecured Creditors
                                                                                                    Prior cases within 2 years: 18-69352 (balance)
   O List of Equity Security Holders
   O Small Business - Balance Sheet
   O Small Business - Statement of Operations                                                               re:
   O Small Business - Cash Flow Statement
   O Small Business - Federal Tax Returns                                                             ckno fdgment o receipt o            eck list

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
         Paid $_0.00 E 2g-Order Granting       0 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
         Z 2d-Order Denying with filing fee of $ 310.00               due within 10 days          E IFP filed (Ch.7 Individuals Only)
              No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk: 0. Jones, Ill                      Date: 4/15/19                        Case Opener:                                        Date:
